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                            EXHIBIT 3
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                                                     4755

Teny Geragos

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                                                    U.S. District Court

                                              Southern District of New York

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Case Name:          USA v. Freedman et al
Case Number:        1:18-cr-00217-KMW
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Document Number: No document attached

Docket Text:
Minute Entry for proceedings held before Judge Kimba M. Wood: Pretrial Conference as to
Gordon Freedman, Jeffrey Goldstein, Todd Schlifstein, Dialecti Voudouris, Alexandru
Burducea held on 9/20/2018. Defendant Gordon Freedman is present with his attorney Samuel
Braverman. Defendant Jeffrey Goldstein is present with his attorney Marc Agnifilo. Defendant
Todd Schlifstein is present with attorney Alex Spiro. Defendant Dialecti Voudouris is present
with her attorney Susan Hoffinger. Defendant Alexandru Burducea is present with his attorney
Richard Levitt. Court reporter Rebecca Foreman is present. Pretrial conference is held (see
transcript.) Defendant's motions are due by January 22, 2019. Government opposition is due
by February 27, 2019, and any defense reply is due by March 20, 2019. Trial is scheduled for
November 4, 2019, at 9:30 a.m. Joint voir dire and requests to charge are due by October 15,
2019. Time is excluded through November 4, 2019. (Jury Trial set for 11/4/2019 at 09:30 AM
before Judge Kimba M. Wood.) (jbo)




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